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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                            CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                        INJUNCTIVE RELIEF SOUGHT


  RMIN ENTERPRISES LLC.
  a Florida Limited Liability Company
  d/b/a ISLAND WAY SHELL

        Defendant(s).
  ____________________________________/

                                          COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues RMIN ENTERPRISES L.L.C., a Florida Limited Liability

  Company, d/b/a ISLAND WAY SHELL (“Defendant”), for declaratory and injunctive relief,

  attorneys’ fees, expenses and costs (including, but not limited to, court costs and expert fees)

  pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”)

  and alleges as follows:

                                 JURISDICTION AND VENUE

         1.      This Court is vested with original jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based

  on Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as

  the 2010 ADA Standards.

         2.      Venue is proper in this Court, West Palm Beach Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court For the Southern
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  District of Florida in that all events giving rise to the lawsuit occurred in Palm Beach County,

  Florida.

                                                  PARTIES

          3.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          4.      Upon information and belief, Defendant is the lessee, operator, owner and lessor

  of the Real Property, which is subject to this suit, and is located at 6812 W Indiantown Rd.

  Jupiter, FL 33458, (“Premises”), and is the owner of the improvements where Premises is

  located.

          5.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

          6.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms

  cause sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. At the

  time of Plaintiff’s visit to the Premises on June 29, 2019, (and prior to instituting this action),

  Plaintiff suffered from a “qualified disability” under the ADA, and required the use of fully

  accessible restrooms and fully accessible paths of travel throughout the facility.. Plaintiff

  personally visited the Premises, but was denied full and equal access and full and equal

  enjoyment of the facilities and amenities within the Premises, even though he would be classified
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  as a “bona fide patron”. A true and correct copy of Plaintiff’s Purchase receipt is attached hereto

  as Exhibit “1”.

         7.         Plaintiff, in his individual capacity, will absolutely return to the Premises and

  avail himself of the services offered when Defendant modifies the Premises or modifies the

  policies and practices to accommodate individuals who have physical disabilities.

         8.         Plaintiff is continuously aware of the violations at Defendant's Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

         9.         Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant's discrimination until Defendant is compelled to comply with the

  requirements of the ADA.

         10.        Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are

  taken at the Premises to eliminate the discrimination against persons with physical disabilities.

         11.        Completely independent of the personal desire to have access to this place of

  public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

  purpose of discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
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  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied

  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at

  Premises, and engaged and tested those barriers, suffered legal harm and legal injury, and will

  continue to suffer such harm and injury as a result of the illegal barriers to access and the ADA

  violations set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

  Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

          12.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed in

  accordance with the requirements of the ADA.

                VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

          13.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

  above as if fully stated herein.

          14.     On July 26, 1990, Congress enacted the Americans With Disabilities Act

  (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)

  years from enactment of the statute to implement its requirements. The effective date of Title III

  of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

  employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. §

  36.508(a).
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         15.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with

                  disabilities and, despite some improvements, such forms of discrimination against

                  disabled individuals continue to be a pervasive social problem, requiring serious

                  attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public

                  services and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,

                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and

                  accosts the United States billions of dollars in unnecessary expenses resulting

                  from dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).
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          16.      Congress explicitly stated that the purpose of the ADA was to:

                a. provide a clear and comprehensive national mandate for elimination of

                   discrimination against individuals with disabilities;

                b. provide clear, strong, consistent, enforceable standards addressing discrimination

                   against individuals with disabilities; and

                c. invoke the sweep of congressional authority, including the power to enforce the

                   fourteenth amendment and to regulate commerce, in order to address the major

                   areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

          17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA

  Standards, Defendant’s Premises is a place of public accommodation covered by the ADA by the

  fact it provides services to the general public and must be in compliance therewith.

          18.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          19.      Plaintiff has visited Premises, and has been denied full and safe equal access to

  the facilities and therefore suffered an injury in fact.

          20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to their
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  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

          21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

  Department of Justice, Officer of the Attorney General promulgated Federal Regulations to

  implement the requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA

  Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36,

  under which said Department may obtain civil penalties of up to $55,000.00 for the first

  violation and $110,000.00 for and subsequent violation.

          22.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations:

          Unisex Restroom #1 West

                a. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                   a wall or some other obstruction in violation of 2010 ADAAG §§404, 404.1,

                   404.2, 404.2.4 and 404.2.4.1.

                b. Failure to provide proper signage for an accessible restroom or failure to redirect

                   a person with a disability to the closest available accessible restroom facility in

                   violation of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                   703.5 and 703.7.2.1.

                c. Failure to provide flush controls located on the open side of the water closet in

                   violation of 2010 ADAAG §§309, 309.4, 604 and 604.6.

                d. Failure to provide the water closet in the proper position relative to the side wall

                   or partition in violation of 2010 ADAAG §§604 and 604.2.
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          e. Failure to provide operable parts that are functional or are in the proper reach

             ranges as required for a person with a disability in violation of 2010 ADAAG

             §§309, 309.1, 309.3, 309.4 and 308.

          f. Failure to provide operable parts that are functional or are in the proper reach

             ranges as required for a person with a disability in violation of 2010 ADAAG

             §§309, 309.1, 309.3, 309.4 and 308.

          g. Failure to provide the proper insulation or protection for plumbing or other sharp

             or abrasive objects under a sink or countertop in violation of 2010 ADAAG

             §§606 and 606.5.

          h. Failure to provide grab bars at 33 inches minimum and 36 inches maximum above

             the finished floor measured to the top of the gripping surface in violation of 2010

             ADAAG §§609, 609.4 and 609.7.

          i. Providing grab bars of improper horizontal length or spacing as required along the

             rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

          j. Failure to provide toilet paper dispensers in the proper position in front of the

             water closet or at the correct height above the finished floor in violation of 2010

             ADAAG §§604, 604.7 and 309.4.

          k. Failure to provide mirror(s) located above lavatories or countertops at the proper

             height above the finished floor in violation of 2010 ADAAG §§603 and 603.3.

          l. Failure to provide paper towel dispenser at the correct height above the finished

             floor in violation of 2010 ADAAG §§606, 606.1 and 308.
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           m. Failure to provide sufficient clear floor space around a water closet without any

              obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

              603.2.3, 604, 604.3 and 604.3.1.

        Unisex Restroom East #2

           n. Providing a swinging door or gate with improper maneuvering clearance(s) due to

              a wall or some other obstruction in violation of 2010 ADAAG §§404, 404.1,

              404.2, 404.2.4 and 404.2.4.1.

           o. Failure to provide operable parts that are functional or are in the proper reach

              ranges as required for a person with a disability in violation of 2010 ADAAG

              §§309, 309.1, 309.3, 309.4 and 308.

           p. Failure to provide mirror(s) located above lavatories or countertops at the proper

              height above the finished floor in violation of 2010 ADAAG §§603 and 603.3.

           q. Failure to provide the proper insulation or protection for plumbing or other sharp

              or abrasive objects under a sink or countertop in violation of 2010 ADAAG

              §§606 and 606.5.

           r. Failure to provide flush controls located on the open side of the water closet in

              violation of 2010 ADAAG §§309, 309.4, 604 and 604.6.

           s. Failure to provide sufficient clear floor space around a water closet without any

              obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

              603.2.3, 604, 604.3 and 604.3.1.

           t. Providing grab bars of improper horizontal length or spacing as required along the

              rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.
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               u. Providing grab bars of improper horizontal length or spacing as required along the

                  rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

               v. Failure to provide the proper spacing between a grab bar and an object projecting

                  out of the wall in violation of 2010 ADAAG §§609, 609.1 and 609.3.

               w. Failure to provide grab bars at 33 inches minimum and 36 inches maximum above

                  the finished floor measured to the top of the gripping surface in violation of 2010

                  ADAAG §§609, 609.4 and 609.7.

               x. Failure to provide toilet paper dispensers in the proper position in front of the

                  water closet or at the correct height above the finished floor in violation of 2010

                  ADAAG §§604, 604.7 and 309.4.

               y. Providing an element or object that protrudes greater than 4” into a pathway or

                  space of travel situated between 27” and 80” high in violation of 2010 ADAAG

                  §§204, 307, 307.1, 307.2.

         Store Aisles

               z. Providing pathways and or aisles that are too narrow in violation of 2010

                  ADAAG §§403, 403.1 and 403.5.1.

         23.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 22 herein.

         24.      Although Defendant is charged with having knowledge of the violations,

  Defendant may not have actual knowledge of said violations until this Complaint makes

  Defendant aware of same.
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         25.     To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

         26.     As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were

  occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

  continuing obligation to remove architectural barriers at the Premises where removal was readily

  achievable, as required by 28 C.F.R. §36.402.

         27.     To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

  obligation to design and construct such Premises such that it is readily accessible to and usable

  by individuals with disabilities, as required by 28 C.F.R. §36.401.

         28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

         29.     All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

         30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991

  ADAAG standard applies and all of the violations listed in paragraph 22 herein can be applied to

  the 1991 ADAAG standards.

         31.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily
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  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the

  following injunctive and declaratory relief:

             1. That this Court declares that Premises owned, operated and/or controlled by
                Defendant is in violation of the ADA;
             2. That this Court enter an Order requiring Defendant to alter their facilities to make
                them accessible to and usable by individuals with disabilities to the full extent
                required by Title III of the ADA;
             3. That this Court enter an Order directing the Defendant to evaluate and neutralize
                their policies, practices and procedures toward persons with disabilities, for such
                reasonable time so as to allow the Defendant to undertake and complete corrective
                procedures to Premises;
             4. That this Court award reasonable attorney’s fees, all costs (including, but not
                limited to the court costs and expert fees) and other expenses of suit to the
                Plaintiff; and,
             5. That this Court award such other and further relief as it may deem necessary, just
                and proper.

         Dated November 8, 2019.

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